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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


Joan Jost and Douglas Jost,                      COURT FILE NO.:

             Plaintiffs,
                                                            COMPLAINT
vs.
                                                      JURY TRIAL DEMANDED
Portfolio Recovery Associates, LLC.

             Defendant.


                                  I. JURISDICTION

1.    Jurisdiction of this Court arises under 28 U.S.C. § 1331, 15 U.S.C. § 1692k(d), 15

      U.S.C. § 1681 et seq. and 28 U.S.C. § 1367 for pendent state law claims.

                                      II. PARTIES

2.    Plaintiff Joan Jost is a natural person who resides in the City of Centerville, State

      of Minnesota, and is a “consumer” as that term is defined by 15 U.S.C. §

      1692a(3).

3.    Plaintiff Douglas Jost is a natural person who resides in the City of Centerville,

      State of Minnesota, is the husband of Plaintiff Joan Jost, and is a “consumer” as

      that term is defined by 15 U.S.C. § 1692a(3).

4.    Defendant    Portfolio    Recovery   Associates,    LLC       (hereinafter   “Portfolio

      Recovery”), is a foreign corporation operating a debt collection agency from an

      address of 120 Corporate Boulevard, Norfolk, Virginia 23502, and is a “debt

      collector” as that term is defined by 15 U.S.C. § 1692a(6).



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                           III. FACTUAL ALLEGATIONS

5.    Sometime prior to 1990, Plaintiff Joan Jost incurred an alleged financial obligation

      with Prudential Bank Visa Credit Card Account numbered xxxx-xxxx-xxxx-0368

      (hereinafter “Account”), Prudential Bank is a “creditor”, as that term is defined by

      15 U.S.C. § 1692a(4).

6.    The alleged obligation was primarily for personal, family or household purposes,

      which is an alleged “debt” as that term is defined by 15 U.S.C § 1692a(5), namely

      a consumer debt.

7.    Plaintiffs filed for bankruptcy protection on November 16, 1990, listing the

      Account on Schedule A-3. See Exhibit 1.

8.    The Account was not excepted from the bankruptcy discharge, and the Bankruptcy

      Court ordered the Account discharged on March 19, 1991. See Exhibit 2.

9.    Defendant Portfolio Recovery alleged acquired the Account on or about May 13,

      2002 and began a poorly executed collection campaign.

10.   On or about January 28, 2008 Defendant’s representatives Troy Graebner and

      Lynn Burnett telephoned Plaintiffs, in the course of that call Plaintiffs attempted to

      determine what account Defendant was trying to collect, when Defendant

      provided the alleged date the account was opened, Plaintiffs informed them that

      the Account had been discharged in their bankruptcy in 1991.

11.   On or about May 20, 2009 Defendant called Plaintiffs, Plaintiffs told Defendant to

      contact their attorney Robert Winzenburg in Mankato, Minnesota.




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12.   On October 9, 2009, Defendant’s collection representative Gary McVey

      telephoned Plaintiff’s and spoke with Douglas Jost, Mr. McVey demanded

      payment of $3,433.94 and indicated that the Account was accruing interest at the

      rate of 6% annually; Mr. Jost again informed Defendant that the account was

      discharged in bankruptcy.

13.   Plaintiff’s bankruptcy attorney, Robert J. Winzenburg, sent a letter to Portfolio

      Recovery on September 21, 2010, notifying Defendant that Joan Jost had filed

      bankruptcy in 1990, that the Account was listed in the bankruptcy, that the debt

      was discharged, and warning Defendant that it was violating federal law by

      contacting Ms. Jost with regard to the Account. See Exhibit 3.

14.   Defendant Portfolio Recovery continued to contact Plaintiffs, leaving a telephone

      message on September 29, 2010 at 10:23 a.m. asking that Plaintiff call them back

      at (866) 909-0529, this message did not identify the caller as a debt collector, or

      identify the purpose of the call.

15.   Defendant called Plaintiffs on September 24, 2010, twice on September 27, 2010,

      September 30, 2010, twice on October 4, 2010, October 6, 2010, October 19,

      2010, and October 21, 2010

16.   Defendant’s representative Donna Williams called Plaintiffs’ residence and spoke

      with Douglas Jost on March 23, 2011; Mr. Jost again informed Defendant that the

      Account had been discharged in bankruptcy.

17.   Defendant called and spoke with Douglas Jost on March 31, 2011 at 12:13 p.m.

      Defendant’s representative “Leileni” asked when Plaintiff was going to pay the


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      balance due of $3,801.76, stated that Defendant would close the account if

      Plaintiff’s paid one half of the balance due or $1,910.88, Defendant’s

      representative stated that Defendant’s records indicated Defendant had spoken

      with Douglas Jost on October 9, 2008, May 20, 2009, June 8, 2010 and October

      21, 2010, Defendant’s representative also claimed that it had no record of the

      bankruptcy filing.

18.   Defendant’s telephone calls beginning on September 29, 2010 violated the Fair

      Debt Collection Practices Act, 15 U.S.C. §1692 et seq.

19.   As the result of Defendant’s repeated violations of the FDCPA, Plaintiffs have

      suffered anxiety, fear, embarrassment, frustration, helplessness, exasperation,

      anger and other negative emotions, as well as loss of sleep and wasted time in

      dealing with this unlawful collection campaign.

                                IV. TRIAL BY JURY

20.   That Plaintiff is entitled to and hereby respectfully requests a trial by jury. US

      Const. amend. 7. Fed. R. Civ. Pro. 38.

                                     V. CLAIMS

                                      COUNT I.

      VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                                15 U.S.C. §1692 et seq

21.   Plaintiffs incorporate by reference paragraphs 1 through 20 as though fully stated

      herein.




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22.   Defendant’s foregoing acts in attempting to collect this alleged debt against

      Plaintiffs constitute violations of the FDCPA, including but not limited to 15

      U.S.C. §§ 1692c(a)(2), 1692d, 1692e, 1692e(2)(A), 1692e(5), 1692e(10), and

      1692f.

23.   Plaintiffs have been harmed by these violations by Defendant and Plaintiffs are

      entitled to statutory damages, actual damages, and her attorneys fees and costs

      pursuant 15 U.S.C. § 1692k(a).

                                         COUNT II.

         INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

24.   Plaintiffs incorporate by reference paragraphs 1 through 23 as though fully stated

      herein

25.   Defendant intentionally interfered, physically or otherwise, with the solitude,

      seclusion, or private concerns or affairs of the Plaintiffs.

26.   Plaintiffs had a reasonable expectation of privacy in their solitude, seclusion, or

      private concerns or affairs.

27.   The intrusion by Defendant occurred in a way that would be highly offensive to a

      reasonable person in that position.

28.   Plaintiffs have been seriously damaged as a result and are entitled to damages,

      costs and attorneys fees.

                                        COUNT III.

           INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

29.   Plaintiffs incorporate by reference paragraphs 1 through 28 as though fully stated herein.


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30.   Defendants forgoing acts were outrageous and, upon information and belief, were

      calculated and intended to cause Plaintiffs emotional distress in order coerce payment of

      a debt that had been discharged in bankruptcy nineteen years earlier.

31.   Plaintiffs have been seriously harmed by Defendants actions and Plaintiffs are entitled to

      damages, costs and attorneys fees.

                                        COUNT IV.

                                      NEGLIGENCE

28.   Plaintiffs incorporate by reference paragraphs 1 through 31 as though fully stated

      herein.

29.   Defendant owed a duty to Plaintiffs to inquire into the legal status of the Account

      after being informed the Account was discharged in bankruptcy.

30.   Defendant owed a duty to Plaintiff’s to maintain records in a manner that would

      prevent repeated telephone contacts after Defendant was informed that the account

      was discharged in bankruptcy.

30.   Defendant breached its duty to Plaintiffs by failing to take reasonable steps to

      prevent harassment by Defendant’s agents attempting to collect a debt that had

      been discharged in bankruptcy twenty years ago.

31.   Plaintiffs have been seriously damaged as a result and are entitled to damages,

      costs and attorneys fees.




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                              PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court enter judgment as follows:



                                      COUNT I

      • for an award of statutory damages of $1,000.00 per violation of the FDCPA

         pursuant to 15 U.S.C. §1692k, against each and every Defendant herein;

      • for an award of actual damages, costs and reasonable attorney fees pursuant to

         15 U.S.C. §1692k against each and every Defendant herein;

                                     COUNT II

      • for an award of actual and compensatory damages for Invasion Of Privacy By

         Intrusion Upon Seclusion, in a reasonable amount in excess of $50,000.00,

         against Defendant;

                                     COUNT III

      • for an award of actual and compensatory damages for Intentional Infliction of

         Emotional Distress, in a reasonable amount in excess of $50,000.00, against

         Defendant;

                                     COUNT IV

      • for actual and compensatory damages for Negligence in a reasonable amount

         in excess of $50,000.00, against all Defendants;




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                               SUCH OTHER RELIEF

      • for Plaintiff to be awarded Costs Of Litigation And Attorneys’ Fees against

          each and every Defendant under each of the allegations herein;

      • for Such Other And Further Relief as may be just and proper.

Dated this Seventh day of April, 2011.

                                         Respectfully submitted,

                                         WEIG LAW FIRM, LLC



                                  By:    s/Paul H. Weig
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